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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
JENNIFER HILTON,                                                       :
                                                                       :
                                    Plaintiff,                         :   20-CV-9318 (JMF) (RWL)
                                                                       :
                  -v-                                                  :            ORDER
                                                                       :
ANDREW SAUL, Acting Commissioner of Social                             :
Security,                                                              :
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

        By separate Order today, the Court is referring this case to the assigned Magistrate Judge

for a report and recommendation on any motion for judgment on the pleadings. In accordance

with this District’s Standing Order governing challenges to denials of social security benefits

(see In re: Mots. J. Pleadings Social Sec. Cases, 16-MC-0171), the following briefing schedule

applies:

        •    Within 90 days of service, the Commissioner must serve and file the Electronic
             Certified Administrative Record (e-CAR), which will constitute the Commissioner’s
             answer, or otherwise move against the complaint.

        •    If Plaintiff wishes to file a motion for judgment on the pleadings, Plaintiff must do so
             within 60 days of the date on which the e-CAR was filed. The motion must contain a
             full recitation of the relevant facts and a full description of the underlying
             administrative proceeding.

        •    The Commissioner must file an answering brief within 60 days of the filing of
             Plaintiff’s motion.

        •    Plaintiff may file a reply within 21 days thereafter.

        In addition, to conserve resources, to promote judicial efficiency, and in an effort to

achieve a faster disposition of this matter, it is hereby ORDERED that the parties must discuss
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whether they are willing to consent, under 28 U.S.C. § 636(c), to conducting all further

proceedings before the assigned Magistrate Judge.

       If both parties consent to proceed before the Magistrate Judge, counsel for Defendant

must, within two weeks of the date on which Defendant enters an appearance, either mail or

email to Furman_NYSDChambers@nysd.uscourts.gov a fully executed Notice, Consent, and

Reference of a Civil Action to a Magistrate Judge form, a copy of which is attached to this Order

(and also available at https://www.nysd.uscourts.gov/node/754). If the Court approves that form,

all further proceedings will then be conducted before the assigned Magistrate Judge rather than

before the undersigned.

       If either party does not consent to conducting all further proceedings before the assigned

Magistrate Judge, the parties must file a joint letter, within two weeks of the date on which

Defendant enters an appearance advising the Court that the parties do not consent, but

without disclosing the identity of the party or parties who do not consent. There will be no

adverse consequences if the parties do not consent to proceed before the Magistrate Judge.




       SO ORDERED.

Dated: November 9, 2020                             __________________________________
       New York, New York                                    JESSE M. FURMAN
                                                           United States District Judge




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AO 85 (Rev. 01/09) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge



                                         UNITED STATES DISTRICT COURT
                                                                      for the
                                                          Southern District
                                                        __________  DistrictofofNew York
                                                                                 __________

                                                                                )
                                 Plaintiff                                      )
                                    v.                                          )     Civil Action No.
                                                                                )
                               Defendant                                        )



           NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

        Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct all
proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment may
then be appealed directly to the United States court of appeals like any other judgment of this court. A magistrate judge may
exercise this authority only if all parties voluntarily consent.


        You may consent to have your case referred to a magistrate judge, or you may withhold your consent without adverse
substantive consequences. The name of any party withholding consent will not be revealed to any judge who may otherwise
be involved with your case.


       Consent to a magistrate judge’s authority. The following parties consent to have a United States magistrate judge
conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.


              Parties’ printed names                                   Signatures of parties or attorneys                      Dates




                                                                    Reference Order

        IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and
order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.



Date:
                                                                                                  District Judge’s signature



                                                                                                    Printed name and title

Note:     Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
          magistrate judge. Do not return this form to a judge.



         Print                           Save As...                                                                             Reset
